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                                United States District Court
                                Northern District of Texas
                                      Dallas Division

 Bertrum Jean et al.,                           §
       Plaintiffs,                              §
                                                §
 v.                                             §      Civil Action No. 3:18-cv-02862-M
                                                §
 The City of Dallas, Texas and                  §
 Amber Guyger,                                  §
       Defendants.                              §

            Defendant Amber Guyger’s Certificate of Interested Persons

       The undersigned counsel of record for Defendant Amber Guyger certifies that the

following listed persons and entities have an interest in the outcome of this case. See Local

Rule 7.4.

Name                                            Interest

Bertrum Jean, individually and as               Plaintiff
   the surviving father of Botham
   Shem Jean

Allison A. Jean, individually and as            Plaintiff
    the surviving mother of Botham
    Shem Jean

Allisa E. Findley, as the Administrator         Plaintiff
    of the estate of Botham Shem Jean

Daryl K. Washington                             Counsel for Plaintiffs
Washington Law Firm, P.C.

Stacy Sylvester Lee Merritt, Sr.                Counsel for Plaintiffs
Merritt Law Firm LLC

Benjamin Lloyd Crump                            Counsel for Plaintiffs
Ben Crump Law PLLC

The City of Dallas, Texas                       Defendant



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Christopher J. Caso                             Counsel for Defendant City of Dallas, Texas
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Tatia R. Wilson
Dallas City Attorney’s Office

Amber Guyger                                    Defendant

Mark E. Goldstucker                             Counsel for Defendant Amber Guyger
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                                                Respectfully submitted,

                                                _ s/ Mark E. Goldstucker__________________
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                                                Attorney for Defendant Amber Guyger



                                    Certificate of Service

       On January 16, 2020, a copy of the foregoing document was served electronically

through the Court’s ECF system on all counsel of record, and by United States mail to

Defendant Amber Guyger, TDCJ Number 02283505, Mountain View Unit, 2305 Ransom

Road, Gatesville, TX 76528.

                                                _ s/ Mark E. Goldstucker__________________
                                                Mark E. Goldstucker




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